Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter      12
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Avalon Orchards, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4676 Hutson Dr.                                                 P.O. Box 450
                                  Mount Hood Parkdale, OR 97041                                   Mount Hood Parkdale, OR 97041
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hood River                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       none


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Avalon Orchards, Inc.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 1113

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                                Case 19-33186-dwh12                    Doc 1         Filed 08/28/19
Debtor   Avalon Orchards, Inc.                                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                          Fruit is located at five locations. Address above and 3617 Hwy 35. Debtor also leases
                                                          orchards located in Roosevelt, WA, 3765 Fletcher Dr., Hood River, OR, and Gate
                                                Other     Creek Ranch, 55100 Smock Rd., Wamic, OR.
                                                                              4676 Hutson Dr.
                                             Where is the property?           Mount Hood Parkdale, OR, 97041-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                                              Cherries: USDA Farm Service Agency / Pears and Apples: Ace
                                                Yes.    Insurance agency      Property & Casualty Insurance
                                                        Contact name
                                                        Phone                 541-298-8559 (FSA) /


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Avalon Orchards, Inc.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       8/28/2019
                                                  MM / DD / YYYY


                             X   /s/ Richard T. Blaine                                                    Richard T. Blaine
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jeffrey C. Misley OSB                                                 Date    8/28/2019
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Jeffrey C. Misley OSB 850674
                                 Printed name

                                 Sussman Shank LLP
                                 Firm name

                                 1000 SW Broadway
                                 Suite 1400
                                 Portland, OR 97205
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-227-1111                  Email address      jmisley@sussmanshank.com

                                 OSB 850674 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Avalon Orchards, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          8/28/2019                               X /s/ Richard T. Blaine
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard T. Blaine
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                       District of Oregon
 In re      Avalon Orchards, Inc.                                                                    Case No.
                                                                                Debtor(s)            Chapter    12




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        8/28/2019                                              /s/ Richard T. Blaine
                                                                     Richard T. Blaine/President
                                                                     Signer/Title




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                                                                         District of Oregon
 In re      Avalon Orchards, Inc.                                                                        Case No.
                                                                                 Debtor(s)               Chapter    12




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Avalon Orchards, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 8/28/2019                                                           /s/ Jeffrey C. Misley OSB
 Date                                                                Jeffrey C. Misley OSB 850674
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Avalon Orchards, Inc.
                                                                     Sussman Shank LLP
                                                                     1000 SW Broadway
                                                                     Suite 1400
                                                                     Portland, OR 97205
                                                                     503-227-1111
                                                                     jmisley@sussmanshank.com




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                                                               United States Bankruptcy Court
                                                                      District of Oregon
 In re      Avalon Orchards, Inc.                                                                     Case No.
                                                                             Debtor(s)                Chapter      12



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Richard Blaine, declare under penalty of perjury that I am the President of Avalon Orchards, Inc., and that
the following is a true and correct copy of the resolutions adopted by the Board of Directors of said corporation
at a special meeting duly called and held on the 27th day of August, 2019 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 12 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Richard T. Blaine, President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 12 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Richard T. Blaine, President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Richard T. Blaine, President of this Corporation is authorized and directed to
employ Jeffrey C. Misley OSB 850674, attorney and the law firm of Sussman Shank LLP to represent the corporation
in such bankruptcy case."

 Date August 27, 2019                                                      Signed /s/ Richard T. Blaine
                                                                                    Richard T. Blaine, President




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                           Avalon Orchards, Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 12 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Richard T. Blaine, President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 12 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Richard T. Blaine, President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Richard T. Blaine, President of this Corporation is authorized and directed to
employ Jeffrey C. Misley OSB 850674, attorney and the law firm of Sussman Shank LLP to represent the corporation
in such bankruptcy case.

 Date August 27, 2019                                                             Signed    /s/ Richard T. Blaine



 Date August 27, 2019                                                             Signed    /s/ Heather Blaine



 Date August 27, 2019                                                             Signed    /s/ Sydney Blaine




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